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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

    ANTONIO HUNTER, #M33269,                          )
                                                      )
                           Plaintiff,                 )
                                                      )
    v.                                                )    Case No. 3:21-cv-00271-NJR
                                                      )
    ILLINOIS DEPARTMENT OF                            )
    CORRECTIONS, STEVE MEEKS,                         )
    and STEPHEN RITZ,                                 )
                                                      )
                           Defendants.                )
                                                      )


               DEFENDANT DR. STEPHEN RITZ’S MOTIONS IN LIMINE

         COMES NOW Defendant, Dr. Stephen Ritz, by and through his attorneys, Sandberg

Phoenix & von Gontard P.C., and for his Motions In Limine, hereby move the Court for an Order

instructing Plaintiff as follows:

         1.    Not to mention, refer to, suggest, or bring before the jury, directly or indirectly,

upon voir dire examination, reading of the pleadings, statement of the case, interrogation of

witnesses, argument, objections before the jury, documents used at trial, or in any other manner,

any of the in Limine matters set forth below, unless and until such matters have first been called to

the court’s attention, out of the presence and hearing of the jury, and until a favorable ruling has

been received regarding the admissibility and relevance of such matters.

         2.    To inform all witnesses called by Plaintiff not to mention in the presence or hearing

of the jury any of the below-enumerated in limine matters, unless and until specifically permitted

to do so by ruling of the court.

         3.    If testimony to be presented to the jury has been taken before ruling on this motion

and concerns matters subject to this motion, including without limitation, oral statements,


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documents used in the testimony or statements of counsel, such matters should be stricken before

presentation to the jury.



                                      IN LIMINE MATTERS

         1.     Motion in limine to preclude any and all argument and evidence of medical

treatment provided to other inmates. Well-settled law prohibits a plaintiff from introducing

evidence of other similar incidents absent a clear demonstration of substantial similarity between

Plaintiff’s claims and such claims or incidents. See, e.g., Ross v. Black & Decker, Inc., 977 F.2d

1178, 1185 (7th Cir. 1992) (internal citations omitted). The Court must weigh the factors favoring

admissibility against the risks of unfairness, confusion, and undue expenditure of time in trying

collateral issues. Nachtsheim v. Beech Aircraft Corp., 847 F.2d 1261, 1269 (7th Cir. 1988). As

the differences in circumstances and conditions between the two situations increase, the probative

nature of any such evidence decreases. Id. The party offering the proffered evidence has the

burden of proof in establishing the similarity of a specific set of facts to the injury-causing incident.

Id. at 1268. Plaintiff has not set forth any evidence of any other substantially similar treatment

provided to inmates and therefore this Court should not permit him to present evidence of any to

the jury. Fed. R. Evid. 403(b)(1).

         WHEREFORE, Defendant Ritz respectfully requests this Court exclude argument or

evidence of other medical treatment provided to inmates.

         Court Ruling: Allowed_______           Overruled_______        Under Advisement_______

         2.     Motion in limine to preclude all argument and evidence of Defendant Ritz’s

insurance or insurance policy. Any application for insurance, insurance policy, or statement,

evidence, or testimony concerning whether Defendant Ritz may have insurance in connection with



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Plaintiff’s claim, or any reference to any coverage dispute or indemnity agreement between any of

the parties to this action should be excluded. Fed. R. Evid. 411.

         WHEREFORE, Defendant Ritz respectfully requests this Court exclude argument or

evidence of Defendant Ritz’s insurance or insurance policy.

         Court Ruling: Allowed_______         Overruled_______       Under Advisement_______

         3.    Motion in limine to preclude any and all statement, testimony or argument

about Wexford Health Sources, Inc. being a for-profit corporation or a “big” corporation or

company. Wexford is not a party to this case. While Dr. Ritz was an employee of Wexford,

Wexford’s corporate status is not relevant to the claim or defense of any party. Testimony about

Wexford’s corporate status is, therefore, irrelevant and prejudicial to the defendant. FRE 401, 402,

403. Furthermore,

         WHEREFORE, Defendant Ritz respectfully requests this Court exclude argument or

evidence concerning Wexford Health Sources, Inc. being a for-profit corporation or a “big”

corporation or company.

         Court Ruling: Allowed_______         Overruled_______       Under Advisement_______

         4.    Motion in limine to preclude any and all argument or evidence requiring

specialized knowledge, education, or training from witnesses not qualified as experts.

Plaintiff’s witnesses who are not medical physicians, nurse practitioners, or nurses, or who have

not otherwise been qualified as expert witnesses, should not be permitted to offer testimony

requiring specialized knowledge, education, or training. Fed. R. Evid. 702. The Court must

determine whether a witness has expert qualifications on specific matters requiring specialized

knowledge. See Ancho v. Pentek Corp., 157 F.3d 512, 515-17 (7th Cir. 1998) (excluding expert

who did not possess requisite expertise in plant design). If a witness does not have the requisite



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knowledge, education, or experience, he or she should not testify on matters that require such

expertise. See Id. Further, Plaintiff and his witnesses are not qualified to testify as to any

continuing damages as such an assertion requires expert opinion and the injury has not been linked

medically to any ongoing damages. Therefore, this Court should prohibit any such testimony.

         This includes, but is not limited to, precluding Plaintiff from offering causation testimony

that surgery would have occurred had Dr. Ritz approved the referral request for a surgical

consultation and/or that surgery would have successfully resolved his rectal prolapse.

         WHEREFORE, Defendant Ritz respectfully requests this Court exclude argument or

evidence requiring specialized knowledge, education, or training from witnesses not qualified as

experts.

         Court Ruling: Allowed_______          Overruled_______       Under Advisement_______

         5.     Motion in limine to exclude any and all reference to any other litigation or

claims in which any Defendant or Wexford is or has been involved. Any documents,

testimony, or other evidence concerning allegations, investigations, claims, lawsuits, or other

matters asserted against the Defendant Ritz by any other person or entity, including, but not limited

to, any other prisoner, patient, or state medical board should be excluded. Fed. R. Evid. 404(b)(1).

Defendant Ritz anticipates Plaintiff may attempt to introduce evidence of other such claims and

lawsuits. Claims, investigations, lawsuits, allegations, or other matters asserted against Defendant

Ritz are irrelevant and inadmissible. Id.; see also Fed. R. Evid. 401, 403.

         WHEREFORE, Defendant Ritz respectfully requests this Court exclude Plaintiff from

referencing any other litigation or claims in which any Defendant or Wexford is or has been

involved.

         Court Ruling: Allowed_______          Overruled_______       Under Advisement_______



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         6.    Motion in limine to preclude any instruction from Plaintiff or his counsel to

the jury to send a message to Defendants or act as the conscience of the community. Any

reference at trial, including during opening statements and closing arguments, that jury members

or prospective jury members should “send a message” to Defendants or act as “the conscience of

the community,” should be excluded. Similarly, Defendant Ritz seeks exclusion of any suggestion

by Plaintiff or his witnesses that the jury should consider “sending a message” when determining

whether to award compensatory damages or in determining the size of such compensatory

damages. Such instructions are inherently prejudicial because they, on their face, urge the jury to

render its verdict based upon “passion and prejudice.” See Honda Motor Co., Ltd. v. Oberg, 512

U.S. 415, 426 (1994).

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude any instruction

from Plaintiff’s counsel to the jury to send a message to Defendants or act as the conscience of the

community.

         Court Ruling: Allowed_______         Overruled_______       Under Advisement_______

         7.    Motion in limine to preclude any documents, testimony, or other evidence not

expressly produced in written discovery. Any documents, testimony, or other evidence not

expressly produced in written discovery should be excluded. Fed. R. Civ. Pro. 26(a)(3)(A)(iii).

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude any documents,

testimony, or other evidence not expressly produced in written discovery.

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          8.     Motion in limine to preclude Plaintiff from introducing any news articles,

media stories (any medium), and opinion pieces (any medium). Defendant Ritz anticipates that

Plaintiff may try to introduce and admit evidence regarding articles or publications about Wexford

and/or its employees. Introduction of such evidence would be unfairly prejudicial and should not

be allowed. Parr v. Sunbeam Prod., Inc., No. 06-1208, 2009 WL 10682264, at *4 (C.D. Ill. June

3, 2009); Fed. R. Evid. 403.

          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

trying to introduce or admit evidence in the form of news articles, media stories, and opinion

pieces.

          Court Ruling: Allowed_______         Overruled_______       Under Advisement_______

          9.     Motion in limine to preclude Plaintiff’s counsel from describing themselves as

“specialists in § 1983 litigation,” informing the jury of their verdict or settlement record in

prisoner medical cases, or stating that they only accept “valid” claims or otherwise implying

this case is meritorious based on their involvement. Defendant Ritz anticipates that Plaintiff

may try to inject the implication this case is meritorious based on their decision to accept the case.

The jury is to assess the merits of the case based on relevant evidence. Statements of counsel are

not evidence, and such statements would be highly prejudicial to Defendants. Federal Civil Jury

Instructions of the Seventh Circuit 1.06; Fed. R. Evid. 401, 403.

          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

stating or implying that the case has merit due to their involvement and/or that they are specialists

in this type of case.

          Court Ruling:   Allowed_______     Overruled_______       Under Advisement_______




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         10.    Motion in limine to preclude Plaintiff from introducing any grievances,

responses to grievances, or letters. Defendant Ritz anticipates that Plaintiff may attempt to enter

into evidence or elicit testimony regarding grievances written by Plaintiff, responses to grievances,

or letters written by Plaintiff. Any such evidence would contain statements of inadmissible

hearsay, for which no exception to the rule against hearsay applies. Fed. R. Evid. 802.

         However, Defendants are permitted to use the grievance, responses to grievances, or letters

written by Plaintiff as they choose to either impeach Plaintiff or for the truth of the matter asserted,

because such statements would be offered by a party opponent and are admissible under Fed. R.

Evid. 801(d)(2).

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

admitting into evidence or elicit testimony regarding grievances written by Plaintiff, responses to

grievances, or letters written by Plaintiff.

         Court Ruling: Allowed_______           Overruled_______       Under Advisement_______

         11.    Motion in limine to preclude Plaintiff’s counsel from asking questions related

to standard of care. This is a deliberate indifference case, not a negligence case. Thus, the

standard of care is inapplicable to the claim or defense of any party. The jury will not receive an

instruction defining “negligence” or “standard of care.” Making any reference to these terms, or

asking a witness if a specific act violates the standard of care or is negligent, will confuse the jury

as to appropriate legal standard and/or the application of the evidence to the law. Fed. R. Evid.

401, 403.

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

making statements or questioning witnesses regarding the standard of care or negligence.

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         12.   Motion in limine to preclude Plaintiff’s non-retained expert(s) from offering

testimony of “criticisms” that do not rise to the level of deliberately indifferent medical care

or, in the alternative, medical negligence. Defendant Ritz anticipates that Plaintiff’s non-

retained expert(s) may offer “concerns” or “criticisms” about the care Plaintiff received without

regard to whether those concerns or criticisms rise to the level of deliberate indifference. Injection

of irrelevant issues would prejudice the Defendants as Plaintiff’s expert’s comments may create

the appearance of deliberately indifferent behavior through unrelated criticisms. Fed. R. Evid. 401,

403.

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff’s non-

retained expert(s) from offering testimony of criticisms or concerns that do not rise to the level of

deliberate indifference or medical negligence.

         Court Ruling: Allowed_______          Overruled_______       Under Advisement_______

         13.   Motion in limine to preclude Plaintiff from offering evidence or making the

argument that Wexford and/or Defendant Ritz is responsible for the actions of its employees

or the medical unit at Pinckneyville in general. Defendant Ritz anticipates that Plaintiff will

attempt to offer evidence or make the argument that Wexford and/or Defendant Ritz is responsible

for the actions of its employees. Introduction of any such evidence or argument is irrelevant and

unfairly prejudicial to Defendants. Fed. R. Evid. 401, 403. Any suggestion that Defendant Ritz

should have followed-up with, or that Defendant Ritz is responsible for any lack of follow-up by

Pinckneyville medical providers, should be barred.




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         WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

offering evidence or making the argument that Wexford and/or Defendant Ritz is responsible for

the actions of its employees or the medical unit at Pinckneyville in general.

         Court Ruling: Allowed_______          Overruled_______        Under Advisement_______

         14.     Motion in Limine to preclude Plaintiff from asking the jury for damages using

a per diem formula. On May 17, 2024, this Court entered an order stating in part:

         …if Hunter plans to ask the jury to consider awarding a specific amount for each
         day or instance he was allegedly wronged, then the Court agrees with Defendants
         that Hunter should provide them with the basis for that figure. Smith v. City of
         Chicago, No. 15-cv-3467, 2020 WL 13599000, at *5 (N.D. Ill. Nov. 4, 2020)
         (finding that plaintiffs cannot decline to provide defendants with a computation for
         non-economic damages only to later offer such a computation at trial).

See Doc. 143. To date, Plaintiff has yet to provide any specific figure or the basis for such a figure.

Further, Plaintiff has allowed the Court to understand that he does not intend to seek or request

such a specific per diem award of damages. See Doc. 143, pg. 4. With only a few weeks left until

trial, any disclosure at this point would be prejudicial to Defendant.

         WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

asking the jury for a specific amount of damages using a per diem formula.

         Court Ruling: Allowed_______          Overruled_______        Under Advisement_______

         15.     Motion in Limine to preclude Plaintiff from referencing, introducing, or

discussing Lippert and/or Rasho expert reports, consent decrees, or any other documents

related to opinions or findings regarding prisoner medical care or mental health care in

another case. Introduction or reference to such documents in another, unrelated matter is wholly

irrelevant, and constitutes irrelevant, inadmissible hearsay. Further, Plaintiff has no endorsed

witness to lay the proper foundation for introduction of such evidence. FRE 401, 402, 403, 602,

701, 801, 802.


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          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

 referencing, introducing, or discussing any aspects or documents from other unrelated matters,

 including Lippert and/or Rasho.

          Court Ruling: Allowed_______          Overruled_______        Under Advisement_______

          16.    Motion in Limine to preclude Plaintiff from offering into evidence Wexford,

 IDOC, or Pinckneyville directives, policies, or protocols. Plaintiff should be barred from

 offering into evidence any evidence of or violation of any IDOC, Pinckneyville, or Wexford

 policies, protocols, or guidelines, as such evidence is irrelevant, substantially more prejudicial than

 probative, and they constitute inadmissible hearsay. FRE 801, 802, 401, 402, 403.

          In Thompson v. City of Chicago¸472 F.3d 444, 446 (7th Cir. 2006), the plaintiff’s decedent

 died following a struggle with police officers. The plaintiff sued several Chicago officers, alleging

 among other things, excessive force in violation of the Fourth Amendment. Id. The trial court

 granted the defendants’ pretrial motion in limine to exclude the Chicago PD’s General Orders

 concerning the appropriate use of force, concluding they were irrelevant and substantially more

 prejudicial than probative. Id. At 453. The Seventh Circuit affirmed the exclusion of this evidence

 as irrelevant to whether the officers used reasonable force. Id.at 454; See also Whren v. United

 States, 517 U.S. 806, 815 (1996) (holding police manuals, guidelines, or general orders are not

 reliable gauges of what is reasonable); See also Scott v. Edinburg¸346 F.3d 752, 760 (7th Cir. 2003)

 (recognizing Section 1983 protects plaintiffs from constitutional violation, not violations of state

 laws, departmental regulations, or police practices.).

          Consistent with the above opinions, this Court should conclude that violations of any

 administrative regulations, policies, protocols, and contracts are not relevant to Plaintiff’s claims

 as they do not make any element of Plaintiff’s claims more likely than not. Even assuming



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 arguendo that a defendant violated a contract provision, policy, or regulation, it would not create

 a reasonable inference that he is liable for Plaintiff’s claim. Conversely, there is substantial danger

 of unfair prejudice from admitting said evidence for any purpose. “Evidence is unfairly prejudicial

 in the context of Rule 403 if it will induce the jury to decide the case on an improper basis…rather

 than on the evidence presented.” Whitehead v. Bond, 680 F.3d 919, 930 (7th Cir. 2012). If the jury

 is presented with such irrelevant policies or procedures that may govern a defendant’s conduct, the

 jury is likely to decide the case based on whether the defendant fulfilled the employment

 obligations. However, that is not the correct standard and would mislead and confuse the jury as

 to the applicable legal standard, thereby lowering Plaintiff’s burden in this case.

          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

 offering into evidence any policies, procedures, guidelines, or protocols belonging to Wexford,

 IDOC, or Pinckneyville.

          Court Ruling: Allowed_______          Overruled_______        Under Advisement_______

          17.    In line with the previous Motion in Limine, Plaintiff should be barred from

 referencing, suggesting, introducing, or presenting in any manner the idea that collegial

 review is unconstitutional, that Defendants engaged in any cost-saving measures through

 collegial review or in this matter, or any other form of presentation of a Monell-type claim.

          This Court previously dismissed the Monell claim against Wexford. See Doc. 118. It is

 anticipated that Plaintiff will attempt to use the same arguments he used in support of his Monell

 claim in order to confuse the jury and create the illusion of deliberate indifference with respect to

 Defendant Ritz.        The Seventh Circuit ruled that Wexford's collegial review process

 "is not unconstitutional on its face." Southard v. Wexford Med., No. 17-cv-00839-JPG, 2021 U.S.

 Dist. LEXIS 50955, at *16 (S.D. Ill. Mar. 18, 2021) (citing Howell v. Wexford Health Sources,



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 Inc., 987 F.3d 647, 651 (7th Cir. 2021)). Plaintiff should be precluded from suggesting otherwise

 to the jury.

          Defendant Ritz also expects Plaintiff to suggest that the refusal to send Plaintiff off-site for

 a surgical consultation was a cost-saving measure.             Plaintiff’s anticipated arguments are

 unsupported by any available evidence and will only serve to confuse the jury on the issue: was

 Defendant Ritz deliberately indifferent. Wexford is no longer in the case, so any such Monell-type

 arguments or related evidence should be barred.

          Further, Plaintiff should be barred from eliciting testimony from witnesses not

 knowledgeable of the collegial review process. For example, Plaintiff questioned Dr. Meeks (not

 a Wexford employee) at length during his deposition regarding the collegial review process, even

 though Dr. Meeks indicated he was not directly involved, forcing Dr. Meeks to offer speculative

 testimony. Such testimony by Dr. Meeks, and any other witness unfamiliar with the collegial

 review process, should be barred as it is speculative and will only confuse the jury.

          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

 making arguments or presenting evidence synonymous with the dismissed Monell claim against

 Wexford and attempting to attribute such evidence to Defendant Ritz. Further, Plaintiff should be

 barred from seeking testimony from witnesses not knowledgeable about the process, including Dr.

 Meeks.

          Court Ruling: Allowed_______            Overruled_______       Under Advisement_______

          18.    Motion to bar Plaintiff’s attorney letter dated June 7, 2019 (ECF 105-30;

 Plaintiff’s Pretrial Disclosure Exhibit #24). The letter and the records purported to be included

 with the letter are inadmissible hearsay not subject to any of the exceptions to the rule against




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 hearsay. FRE 801, 802, & 803. The letter and any documents that may be included are out of court

 statements offered to prove the truth of the matter asserted.

          Further, Plaintiff is unable to lay any foundation or offer any testimony to lay foundation

 regarding the letter and any documents that may or may not have been attached. The only way

 proper foundation can be presented, or to even suggest that the letter and its contents are part of a

 business record exception, is by offering testimony by the author of the letter. In other words,

 Plaintiff’s own counsel would need to testify at trial in order to lay the proper foundation.

 However, doing so would violate the advocate-witness rule. Smith v. Chi. Transit Auth., No. 12 C

 8716, 2015 U.S. Dist. LEXIS 8616, at *6 (N.D. Ill. Jan. 26, 2015). There is a substantial risk of

 prejudice, as it would cause confusion to the jury as Plaintiff’s counsel acting as both lawyer and

 witness, as the line between fact testimony as a witness and his possible analysis of the evidence

 may not always be clear. Id. at *7 (Motion in Limine to bar trial testimony from Plaintiff’s attorney

 granted). Without the prohibited testimony, Plaintiff will lack foundation at trial to use, refer to,

 or state the contents of the letter, as well as any documents that may have been attached.

          Further, the letter contains Plaintiff’s counsel’s interpretation of facts that the jury will be

 asked to decide in this case. For example, the letter states that Plaintiff has been requesting medical

 attention for rectal pain and bleeding since early 2018. That is very much in dispute in this case.

 Introducing the letter into evidence would be to allow Plaintiff’s counsel to testify as a witness for

 Plaintiff, which is precluded as more fully demonstrated above.

          The letter also contains inadmissible hearsay. For example, the letter states “While at the

 Northern Reception and Classification Center, [Plaintiff] was seen by a doctor who informed him

 that he would need to undergo surgery because he was suffering from rectal prolapse.” This is a

 hearsay statement contained in a letter which is itself hearsay. FRE 801, 802, & 803.



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          The quoted statement is also inadmissible opinion testimony from a witness that has not be

 established as an expert or timely disclosed to Defendants as required by Rule 26. See also Fed.

 R. Evid. 702

           The letter makes reference to the settlement of a prior case against Wexford and the IDOC,

 which is not relevant to the claims or defenses in this case and is highly prejudicial. FRE 401.

          WHEREFORE, Defendant Ritz respectfully requests this Court preclude Plaintiff from

 introducing the June 7, 2019, letter, any attachments to the letter, and Plaintiff’s counsel’s own

 testimony.

          Court Ruling: Allowed_______            Overruled_______       Under Advisement_______

          19.       Adoption of Co-Defendants’ Motions in Limine

          Defendant hereby adopts and incorporates herein by reference the Motions in Limine filed

 by Co-Defendants’ Dr. Steve Meeks and the Illinois Department of Corrections, including, but not

 limited to:

                   Motion in Limine I – Seeking to bar Plaintiff from offering opinion causation

                    testimony.

                   Motion in Limine IV – Seeking to bar Plaintiff from imposing compliance with

                    IDOC policies or protocols.

                   Motion in Limine VII – Seeking to bar Plaintiff from “Golden Rule” arguments.

                   Motion in Limine XI – Seeking to bar Plaintiff from calling Dr. Poola as a witness

                    or offering into evidence any medical records related to Dr. Poola’s care.

                   Motion in Limine XIII – Seeking to bar Plaintiff from citing or offering into

                    evidence responses to the statements of fact used during the parties’ summary

                    judgment briefing.



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          WHEREFORE, Defendant Ritz respectfully requests this Court grant Co-Defendants’

 Motions in Limine.

          Court Ruling: Allowed_______       Overruled_______      Under Advisement_______

          20.   Defendant Ritz respectfully requests leave of Court to file additional Motions in

 Limine as necessary and as allowed by this Court’s standing Case Management Procedures.

          Court Ruling: Allowed_______       Overruled_______      Under Advisement_______


                                             SANDBERG PHOENIX & von GONTARD P.C.


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                                        Certificate of Service

         I hereby certify that on this the 2nd day of June, 2024, the foregoing was filed electronically
 with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
 the following:

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 Attorneys for Defendants Illinois Department
 of Corrections, and Steven Meeks

                                                         /s/ Dennis S. Harms




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